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      Defendant's Motion to Compel And For Reasonable Expenses Pursuant to Rule 37

                                        Index of Exhibits


   A. Defendant's Set of First Interrogatories to Plaintiff

   B. Plaintiff's Answers to Defendant's First Interrogatories to Plaintiff

   C. Letter, dated September 2, 2014

   D. Email, dated October 1, 2014

   E. Email, dated January 13, 2015

   F. Plaintiff's Supplemental Answers to Defendant's First Interrogatories to Plaintiff

   G. Authorization for the Release and Disclosure of Employment Records

   H. Email, dated February 10, 2015

   I. Email, dated February 12, 2015
